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AC 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District of Massachusetts

                  United States of America
                             v.
                                                                               Case No.      22-mj-3070(KAR)
                   Jeremy David Hanson
                                                                                ~S'~.Z ~ MJ ~~ 2.g b --~ln~



                          Defendants)


                                                    CRIMINAL COMPLAINT
         I,the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the dates)of                     October 2-8, 2021                in the county of                 Hampden                     in the
                      District of           Massachusetts          ,the defendants) violated:
            Code Section                                                         Offense Description
18 U.S.C.§ 875(c)                                 Transmission In Interstate Commerce Of Communications Containing
                                                  Threats To Injure The Person Of Another




         This criminal complaint is based on these facts:
See attached Affidavit of Special Agent Casey Hunter Anderson sworn to telephonically on April 12, 2022.




         I~ Continued on the attached sheet.

                                                                                               /s/ Casey Hunter Anderson
                                                                                                   Complainant's signature
             Signed electronically with authorization from
             FBI Special Agent Casey Anderson on April 12, 2022.                    Casey Hunter Anderson, Special Agent, FBI
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.


Date:           04/12/2022                                                                     /s/ Katherine A. Robertson
                                                                                                       Judge's signature

City and state:                         Springfield, MA                           Katherine A. Robertson, U.S. Magistrate Judge
                                                                                                    Printed name and title
                                                                                Signed electronically with authorization from
                                                                                Katherine A. Robertson, U.S. MagisVate Judge on April 12, 2022.
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        AFFIDAVIT OF SPECIAL AGENT CASEY ANDERSON IN SUPPORT OF
          A CRIMINAL COMPLAINT AGAINST JEREMY DAVID AANSON

         I, Casey Anderson having been first duly sworn, do hereby depose and state as follows:

                              Introduction. and Agent BackEround

         1.      I am a Special Agent with the Federal Bureau of Investigation ("FBI") and have

 been so employed since September of 2019. I am assigned to the Springfield, Massachusetts

 Resident Agency of the FBI's Boston Division, where I am responsible for conducting

 investigations related to violations of federal laws, including interstate threats and hate crimes.

 My participation in these investigations has included using confidential informants and

 cooperating witnesses; executing search and arrest warrants; conducting victim and witness

 interviews; reviewing communication records and content; and conducting electronic and physical

 surveillance.

         2.      I respectfully submit this Affidavit in support of a Criminal Complaint charging

 that on or about October 2, 2021 through October 8, 2021, in the District of Massachusetts and

 elsewhere, Jeremy David Hanson("Hanson")did transmit in interstate commerce communications

 containing a threat to injure the person of another, in violation of Title 18, United States Code,

 Section 875(c)(Threatening Interstate Communications)(the "Subject Offense").

         3.      The facts set forth in this Affidavit come from my personal observations and/or

 review of records and other evidence, my training and experience, and information obtained from

 other agents and witnesses. This Affidavit includes only those facts I believe are necessary to

 establish probable cause for the requested Criminal Complaint and does not include all ofthe facts

 uncovered during the investigation. Unless otherwise specified, all statements are in sum and

 substance, all dates are approximate, and all amounts are approximate.




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                                         The Subiect Offense

         4.     Title 18, United States Code, Section 875(c) states: "Whoever transmits in

 interstate or foreign commerce any communication containing any threat to kidnap any person or

 any threat to injure the person of another, shall be fined under this title or imprisoned not more

 than five years." 18 U.S.C. § 875(c).

                Probable Cause That Hanson Committed The Subiect Offense

         5.     As set forth below,I have probable cause to believe that between October 2-8,2021,

 Hanson committed violations ofthe Subject Offense.

                                      Merriam-Webster. Inc.

         6.     According to its website,l Merriam-Webster, Inc. ("Merriam-Webster") is

 America's foremost publisher of language-related reference works. In addition to its award-

 winning dictionary site at www.Merriam-Webster.com,the company offers a diverse array ofprint

and digital language references, including Merriam-Webster's Collegiate      Dictionary, Eleventh

Edition, which is America's best-selling desk dictionary, and the online Merriam-Webster

 Unabridged, which is the successor to its famed Webster's Third New International Dictionary.

 Merriam-Webster maintains its headquarters in Springfield, MA and additional offices in New

 York, NY. The company was founded in 1831 as abook-selling operation in Springfield, and has

 been in continuous operation since then.

         7.     Merriam-Webster's web site contains a "Contact Us"page in which individuals can

submit        communications       online       at    https://www.merriam-webster.com/contact-

us/email?auto=buying. The "Contact Us" page permits users to input their name, e-mail address,

technical information, and other information, and then to select a button ("Send To Merriam-



 ~ https://www.merriam-webster.com/about-us/faq.
                                                 is
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 Webster") that will communicate this information to the company. The "Contact Us" page on

 Merriam-Webster.com uses a fellable form that generates an email to the Merriam-Webster

customer service team that is populated by the text placed in the fellable form. Because the fellable

form generates the email, the email account listed in the email section ofthe message received by

the customer service team may not be an active email address. Likewise, the username entered in

the fellable form may not correlate to a username registered with Merriam-Webster.com.

         8.    Merriam-Webster's website also features its online dictionary, the Merriam-

 Webster.com Dictionary, which is regularly updated and revised. The dictionary also contains

engagement features specifically designed for the digital user, including a feature that permits

 users to comment on the dictionary's content and word choices.

        9.     As set forth in greater detail below, between October 2-8, 2021, Merriam-Webster

received various threatening communications submitted through its website's "Contact Us" page

and in the comments section for the Merriam-Webster dictionary webpages that corresponded to

the word entries for "Girl" and "Woman." The registered user listed for these communications

 was @anonymous. In addition, @anonymous posted additional comments on the Merriam-

 Webster website, including opinions about certain controversial topics and comments

demonstrating bias against specific gender identities. @anonymous posted these bias statements

on the comments section for the Merriam-Webster dictionary webpages corresponding to the word

entries for "Boy," "Girl," "Female," and "Trans Woman." Some statements expressed hostility

toward different gender identities and some threatened bodily harm to people.

         10.   On October 7, 2021, Merriam-Webster's executive management became aware of

the threatening communications. On October 8, 2021, after Merriam-Webster's executive

 management learned of additional, more direct threats, Legal Counsel for Merriam-Webster



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 reported the threats to the FBI. As a result of the threats, executive management for Merriam-

 Webster closed its in Springfield and New York, and these offices remained closed for

 approximately five business days.

                  Threatening Statements to Merriam-Webster by~a anonymous

         1 1.   On October 2,2021, at 12:44 a.m. EDT,Merriam-Webster received a threat posted

 on the comments section for the Merriam-Webster dictionary webpages corresponding to the word

"Female" at https://www.merriam-webster.com/dictionary/female. The post read:

                It is absolutely sickening that Merriam-Webster now tells blatant

                lies and promotes anti-science propaganda. There is no such thing

                as "gender identity." The imbecile who wrote this entry should be

                hunted down and shot.

         12.    On October 8, 2021, at 11:17 a.m. EDT, Merriam-Webster received a threat posted

on the comments section for the Merriam-Webster dictionary webpages corresponding to the word

"Girl" at httns://www.merriam-webster.com/dictionary/ irl. The post read:

                The moron who created this fake definition should be hunted down

                and shot. I am sick and tired of these cultural Marxists denying

                science and destroying the English Language. Merriam-Webster

                headquarters should be shot up and bombed. Boys aren't girls.

         13.    Merriam-Webster used athird-party application to run website reports, including

information pertaining to posts. On October 25,2021, a Senior Web Operations Engineer provided

screenshots of the website report that identified the user of these posts.

         14.    According to the report, the October 2, 2021 threat was posted by a user who

registered with Merriam-Webster.com using the username @anonymous and who registered with



                                                  n
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the email address Jarlaxleartemisl(a~~mail.com. According to the report, the IP address used for

this post was 98.149.110.214. According to the report,the October 8, 2021 threat was also posted

 by @anonymous and the IP address captured for the threat was also 98.149.110.214.

         15.   According to an IP lookup for IP address 98.149.110.214, the IP address

98.149.110.214 was owned by Internet service provider Spectrum/Charter Communications

("Charter Communications").

         16.   According to Charter Communications records,from May 21, 2021, to January 15,

2022 (i.e., including October 2-8, 2021), IP address 98.149.110.214 was assigned to subscriber

Lauren Zack("Zack")at 11572 Wallingsford Road, Rossmoor, CA,90720("11572 Wallingsford

Road"). Because Zack was assigned to this IP address up until the date of the Charter subpoena

response, January 15,2022, it is possible that Zack's account was assigned to this IP address after

 January 15,2022.

         17.   According to California Department of Motor Vehicles ("CADMV") records,

Hanson resides at Wallingsford Road, Rossmoor, CA,90720. On May 27, 2020, March 2, 2021,

and March 12,2022,FBI agents investigators interviewed Zack, who stated that Hanson is her son

and lives with her at 11572 Wallingsford Road.

        18.    During her interview on May 27, 2021, Zack told investigators that due to the

stresses of the coronavirus, and recent changes to medication, Hanson may be lashing out online

and insisted that he poses no threat to the community because he is reclusive, she supervises him,

and he has no access to weapons.

        19.    During her interview on March 2, 2021, Zack told investigators that Hanson was

fixated on transgender issues and is prone to what she described as "verbal hyperbole." In

particular, Hanson complained to Zack about a Hasbro new toy. Zack also explained that Hanson



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 suffers from developmental disorders, including autism, and is unable to reason through the

 consequences of making statements that could be construed as threats.

                                  Hanson's Interview on July 27, 2015

         20.   On July 27, 2015, FBI investigators interviewed Hanson in the presence of Zack

 and a medical psychiatric resident at University of California —Irvine Medical Center, who had

 determined that Hanson was fit to be interviewed. Hanson stated:

               a.         He uses various websites that provide anonymous IP addresses.

               b.         He regretted making any threatening statements online, including the

               following message that he posted on a Wikipedia page: "I will kill you, you anti-

               Semitic freak. I will rape your sister and bash her fucking skull in. Then I'll fuck

               your mother and kill her too."

               c.         He similarly regretted that on October 23, 2014, he sent an e-mail to Irish

               politician Averil Power that stated, among other things: "Hope you enjoy getting

               raped by savage Muslims when Ireland falls to sharia law."

               d.         He repeatedly expressed remorse and indicated that he promised to refrain

               from sending any threatening remarks via social media or online in the future.

 Threatening Statements by "Death to Marxists" Through Merriam-Webster's "Contact Us"Pale

         21.   On October 2, 2021 and October 8, 2021, Merriam-Webster also received through

 its "Contact Us" page two other threatening communications that resembled the content of the

 @anonymous posts on those days.

         22.   On October 2, 2021 at 12:55 a.m. EDT, Merriam-Webster received the following

 threatening communication. The fillable form section for "from name" included the text "Death

 to   Marxists,"    and    fellable   form   section   for   "from    email"   included    the   text
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 "death2marxists@gmail.com." The communication read:

               You [sic] headquarters should be shot up and bombed.It is sickening

               that you have caved to the cultural Maoist, anti-science tranny

               agenda and altered the definition of "female" as part of the Left's

               efforts to corrupt and degrade the English language and deny reality.

               You evil Marxists should all be killed. It would be poetic justice to

               have someone storm your offices and shoot up the place, leaving

               none of you commies alive.

         23.   A Senior Web Operations Engineer at Merriam-Webster provided the header

 information for this message, but could not identify the log-in IP address because Merriam-

 Webster used athird-party system to collect this information.

         24.   On October 8, 2021, at 11:25 a.m. EDT, Merriam-Webster received the following

 threatening communication. The fellable form section for "From name" included the text "Death

 to   Marxists." The     fellable   form   section   for "From      email"    included   the   text

 "death2marxists@email.com." The communication read:

               I am going to shoot up and bomb your offices for lying and creating

               fake definitions in order to pander to the tranny mafia. Boys aren't

               girls, and girls aren't boys. The only good Marxist is a dead Marxist.

               I will assassinate your top editor. You sickening, vile tranny freaks.

        25.    According to Merriam-Webster's website usage log, at the same date and time of

 this communication, a user accessed the company's "Contact Us" with IP address 172.56.16.59

 and with device identifiers for a Samsung SM-N950U running Linux; Android 9.

        26.    The IP address 172.56.16.59 was owned by T-Mobile US("T-Mobile"). T-Mobile



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 was unable to provide a subscriber based on the IP address assignment. However, according to T-

 Mobile's records, during the period including October 1-8, 2021, Zack maintained an active T-

 Mobile cellular account with a mobile data package for cellular telephone number(562)230-9620.

                             Attribution of Jarlaxleartemis1(a,Qmail.com

          27.    As stated above, the registration e-mail address for @anonymous on Merriam-

 Webster.com was Jarlaxleartemisl(a~gmail.com, and the IP address used to post the threatening

 statements on October 2,2021 and October 8,2021 was 98.149.110.214, which resolved to Charter

 Communications customer Lauren Zack, whose son was Hanson.

         28.      According to Google, Inc.("Google") records for Jarlaxleartemisl(a,gmail.com,

 this e-mail address was subscribed to an alias: First name "Anon" and surname "Ymous." In

 addition, Google's IP logs for user sign-ins and sign-out occurring between May 15, 2021, and

 October 18, 2021 contained 19 sessions resolving to IP address assigned to Charter

 Communications and one session resolving to an IP address assigned to T-Mobile. According to

 Charter Communications records, the subscriber of the 19 IP addresses obtained from Google for

 Jarlaxleartemis 1(a,~mail.com    was assigned to the IPv62 block provided to                 Charter

 Communications customer Lauren Zack.

         29.    According to the Google records, Jarlaxleartemisl(c~gmail.com was linked by

 browser cookies to two          other email      addresses:      jeremvdhanson(a)gmail.com       and

 quinsarethl(a,gmail.com. Browser cookies are data. exchanged between a user and an Internet site

 that can be stored by the site to allow the user to interact with the services of that site. Based on

 my training and experience, I know that browser cookies can be used by websites and service



 2 Internet Protocol version 6(IPv6) is the most recent version of the Internet Protocol (IP),
 the communications protocol that provides an identification and location system for computers on
 networks and routes traffic across the Internet.
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  providers for a variety offunctions, including website and account security, analytics, advertising,

  and personalization.

          30.    The Google records also contained device identifier information for the connection

  sessions for Jarlaxleartemisl(a~~mail.com. All of the IP addresses were associated with one of

  only two different device identifiers.

          31.    The first device identifier, a Samsung SM-N950U running Linux; Android 9, was

  connected to 16 of the sessions that resolved to the Charter Communications IP address addressed

 to Zack and one session that resolved to a T-Mobile IP address. This device identifier is consistent

  with the device identifier used to access Merriam-Webster's "Contact Us" page at 11:25 a.m.EDT

  on October 8, 2021. The second device identifier, a computer using Windows NT 6.1; Win64;

  x64; rv:89.0, was connected to three ofthe sessions that resolved to the Charter Communications

 IP address assigned to Lauren Zack.

                                     Additional Threats Evidence

          32.    As set forth above, according to the Google records, Jarlaxleartemis 1(a),~mail.com

 (the email address associated with @anonymous on Merriam-Webster.com) was linked by

  browser cookies        to two   other email     addresses:     jeremvdhanson(a~~mail.com       and

  Quinsarethl~,~maiI.com.

                                           The ACLU Threat

          33.    On April 19, 2020,the American Civil Liberties Union posted a message related to

 absentee ballots and a lawsuit in Missouri. In response to this post, the ACLU received a response

 from Instagram user @quinsarethl that stated,"The ACLU is a shameless partisan hack that hates

 freedom, hates America. I'd like to go on a shooting spree in their offices."

          34.    According to Facebook records, the registered email account for Instagram user



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  @quinsarethl was quinsarethl(a~~mail.com, and on April 20, 2020, (the day following the

  threatening post), @quinsarethl used IP 98.149.110.214 which is the same IP address used to post

  the threatening communications by @anonymous on Merriam-Webster.com. According to

  Charter Communications,this IP address was registered to its customer Zack. In addition, on May

  27, 2020, FBI agents interviewed Zack, who confirmed @quinserathl was Hanson's Instagram

  username.

                                     The Land O' Lakes Threat

          35.   On April 26, 2020, an employee of Land O' Lakes, an agricultural company

  headquartered in St. Paul, Minnesota,reported the following threatening communications received

  by Instagram from the user @quinserathl:

                a.     9:44 p.m.: "Land O Lakes headquarters deserve to be shot up and bombed

                for turning into a cultural Marxist company that panders to political correctness."

                b.     9:46 p.m.: "@landolakessktchn Land O Lakes headquarters deserve to be

                shot up and bombed for turning into a cultural Marxist company that panders to

                political correctness.

                                    The New York Rabbi Threat

         36.    On July 14, 2020, the New York City Police Deparhnent("NYPD")informed the

 FBI that on July 12, 2020, a local rabbi had received threatening e-mails from

 Jeremvdhanson(a~outlook.com. The email subject line read: "You're not Jewish. You're some

 deranged Marxist Faggot. You deserve a bullet in the head." The email body read:

                I'd like nothing more than to fill you full oflead. You're a sickening

                kapo and a disgusting faggot. You state your "pronouns" in your

                Twitter profile.   That identifies you as some kind of tranny



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                   abomination and a radical Maoist. Your Marxism negates your

                   Judaism, as Marxism is an anti-Semitic ideology. In short, you are

                   pure evil, a aubhuman [sic] traitorous cockroach even more evil than

                   the Nazis. You and your entire family should be gassed and your

                   synagogue shot up and bombed.

          37.      According to Microsoft records, the email Jeremvdhanson(cr~,outlook.com was

  registered to a Jeremy Hanson in California with the date of birth of December 15, 1988.

  According to the CADMV records, Hanson has a date of birth of December 15, 1988 and resides

  in California.

                                           The Hasbro Threat

          38.      On March 1, 2021, an employee of Hasbro, a toy company with headquarters

  located in Pawtucket, Rhode Island, reported that on February 25, 2021, Hasbro received the

 following threatening messages received via Hasbro Pulse, a system used by the company to

 communicate with the public. Each ofthese messages were signed "Jeremy Hanson" and the email

  account listed as the sending address was Jeremvdhansonnu,outlook.com.

                   a.      6:14 p.m. EST: "I am going to shoot up and bomb your headquarters for

                   pandering to the tranny freaks. Mr. Potato head is male. You sickening tranny

                   cultural narcist need to be exterminated. Death to tranny [sic]." The IP address for

                   this message was 40.92.46.72.

                   b.     7:51 p.m.: This threat provided identical language with the addition of

                   "only figuratively." The IP address for this message was 40.92.18.34.

          39.      On March 4, 2021,FBI agents interviewed both Hanson and Zack concerning the

 threats to Hasbro. Hanson stated:



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                 a.     He sent both threatening communications, but he did not intend to carry out

                 the threat, and he sent the second "only figuratively" communication after realizing

                 he had done something wrong.

                 b.     He had difficulty controlling what he posted online when he became

                "angry," and he posted online to express the "rage" he felt.

                c.      He understood there was a difference between expressing himself and

                threatening someone, he agreed he would have to find a different outlet for his

                feelings when he got angry about something he saw in the news, and he expressed

                remorse that law enforcement had to get involved.

          40.   Zack stated:

                a.      She believed Hanson, who was 32 years old at the time, had the maturity of

                someone between the ages of 13 and 16 years old.

                b.      Hanson was diagnosed with Asperger's syndrome, arixiety, obsessive-

                compulsive disorder, and depression, and that Hanson took several psychiatric

                medications. However, it was difficult to get Hanson treatment because Hanson

                did not believe he had any kind of disorder.

                c.      Hanson did not have access to any weapons.

                           The Madison; Wisconsin Alderperson Threat

          41.   According to reports ofthe Madison (Wisconsin) Police Department("MPD"),on

  August 8, 2021, a local elected official (the "Alderperson") received a threatening email based

  upon the Alderperson's role in removal of a monument. Specifically, on August 8, 2021 at

  approximately 2:01 a.m. CST, the Alderperson received an email message from an automated

  question form present on Madison's District 8 City webpage. The email was sent using an



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  automated fellable form from an email address that was listed as reporting(a),citvofmadison.com.

  The email was entitled "Rocks aren't racist, you stupid nigger" and the listed name of the user

  was "Rocks Aren't-Racist." The communication read:

                Hey, you dumb nigger, you should be lynched. Stupid Marxist cunt.

                You're so retarded you actually believe two billion year old boulders

                are racist. Insane Marxists like you are destroying America. You

                stupid, crazed bitch, you deserve to be raped and lynched for tearing

                out that boulder.

          42.   According to the MPD report, as a result of the threat, the Alderperson was scared

  and taking active steps to protect themselves and their home. According to the investigation, the

 IP address used to access the fellable form on the District 8 website was 98.149.110.214, which

  was registered to Charter Communications' customer Lauren Zack on August 8,2021. This is also

 the same as the IP address used to post the comments by @anonymous on Merriam-Webster.com.

          43.   On November 22, 2021, Madison Police Department investigators spoke to Zack,

  who explained Hanson's diagnosis and indicated that she remembered Hanson mentioning being

  upset about the monument. Zack offered to speak to Hanson about the email and see if Hanson

  wanted to speak to investigators, but Hanson declined to be interviewed by the MPD.

                          The IGN Entertainment and DC Comics Threats

          44.   On October 12, 2021, the San Francisco (California) Police Department("SFPD")

 responded to a report of threatening communications at the corporate headquarters for IGN

 Entertainment ("IGNE"). IGNE is a video game and entertainment media publication company

  headquartered in San Francisco/ According to the report, IGNE received the threatening

 communications by a post to its webpage https://www.i~n.com/articles/superman-bisexual-lgbt-



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  ionkent-dc and by emails to its email address inn    eneral(a,i gn com. The employee believed the

  threats were posted in response to an IGN Instagram post stating "Exclusive: DC's New Superman

  Jon Kent Comes Out as Bisexual."

          45.     In total, IGNE received eight different communications from different, but related,

  usernames:       Boycott-DC-Comics@mail.com, Boycott-DC-Comics; Boycott-DC-Comicsl,

  Boycott-DC-Comics2@mail.com,and Boycott-DC-Comics3@mail.com.The posts were made by

  an individual or individuals with the username. The posts originated from three IP addresses

  owned by T-Mobile: 173.58.16.186, 172.58.17.174, and 172.56.17.222. The IP addresses were all

  owned by T-Mobile. Investigators determined that IP address 172.56.17.222 resolved to an

  approximate location near Los Angeles, California, but could not obtain locations for the other two

  IP addresses.

          46.     The posts read as follows:

                  a.     "I am going to shoot up and bomb your headquarters for discriminating

                         against conservatives and silencing conservative speech. The only good

                         Democrat is a dead Democrat. I will kill you all for discriminating against

                         and silencing me for criticizing the radical homosexual agenda."

                  b.     "I will Kill you for censoring me,and I will shoot up IGN headquarters."

                  c.     "All Faggots Hate Free Speech, so they should all Be Killed."

                  d.     "All Fags Need to be rounded up and gassed."

                  e.    "The only good faggot is a dead one."

                  £      "I am going to shoot up the IGN offices for discriminating against and

                         silencing conservatives. The Maoist oppression against Americans needs

                         to end now."



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               g.    "I am going to shoot up the IGN offices for discrimination against and

                     silencing conservatives."

               h.    "Ofcourse someone like you(read: radical Democrat anti-American traitor)

                      doesn't have a problem with innocent children being corrupted by

                      degenerate filth in the form of a villain being disguised as a "superhero"

                     IGN is obviously afar-left extremist, cultural Marxist propaganda site that

                      discriminates against conservatives and hates free speech. I will have to

                      keep posting my comment,and ifIGN keeps deleting it, I will shoot up their

                      offices. The radical left needs to pay for silencing and oppressing

                     conservatives."

         47.   On October 16,2021,a writer for DC Comics received threatening communications

  via Facebook Messenger from a Facebook user with the user name Jeremy Hanson and account

  URL www.facebook.com/jeremv.hanson.4 (the "Jeremy Hanson Facebook Account"). The

  messages read:

               a.    "I am going to fucking kill you. I am going to rape your wife and decapitate

                      her then blow up DC Comics headquarters."

               b.    "We are going to have a civil war and EXTERMINATE you cultural

                      Marxists destroying America. TRUMP 2024"

               c.    "I WILL BURN YOU ALIVE AND DECAPITATE YOU FOR MAKING

                      SUPERMAN GAY.FUCKING FAGGOT"

               d.    "I WILL FUCKING BOMN DC COMICS HEADWUARTERS [sic] AND

                      ASSINATE [sick THEIR CEO.FUCKING COMMIE FAGGOT TRASH."

         48.   According to Facebook records for the Jeremy Hanson Facebook Account, the



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  account      used    two     IP   addresses   on    October   11    and   12,   2021,   respectively:

  2603:8000:6400:b600:4c81:23d6:060d:8cic and 2603:8000:6400:b600:b053:53ea:7e52:9c0a.

  Both IP address were owned by Charter Communications.

            49.   On January 16, 2021, an additional threat was received by several email address

  associates      with       DC     Comics.          The    sending     account     was    listed    as

  ShootUpandBombDCComics(a,gmx.us.3 The subject line read: "I am going to shoot up and bomb

  your offices for ruining Superman." The body of the email read:

                  First, you turn him into a faggot. Now, you make him anti-

                  American. You fucking Marxist pieces ofshit. I will make you pay.

                  I will kill [Comic Publisher 1] and rape and murder his wife.

          50.     On October 27,2021,FBI agents interviewed Hanson in the company of his mother

 at their home at 11572 Wallingsford Road. Hanson stated:

                  a.         He suffers from obsessive-compulsive disorder, Aspergers, anxiety, and

                  depression, and he struggles with impulse control.

                  b.         He recently made threatening remarks online regarding the sexual

                  orientation of Superman to DC Comics as well as IGN Entertainment.

                  c.         He understands the threatening remarks he makes online are illegal, but is

                  unable to control himself or his emotions.

                  d.     He is, usually able to vent his anger to his mother. However, after his mother

                  has gone to bed, Hanson makes comments online without the added benefit of his



 3 Open-source research identified the owner of the domain @gmx.us as 1&1 IONS. However,
 1&1      IONOS     informed     the    FBI     that   records   related    to    the     email
 ShootUpandBombDCComics(a~ x.us were not maintained by 1&1 IONOS, but rather by a
 partner company operating out of Germany. The FBI did not obtain any further records related to
 ShootUpandBombDCComics(c~ mx.us.

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                mother as a filter or sounding board.

                             The Lovola Marymount University Threats

          51.   On January 7, 2022, the FBI was contacted by an investigator from the Loyola

  Marymount University("LMU")Public Safety Department,who reported that on January 6,2022,

  two LMU professors(Professor 1 and Professor 2)had received threatening email communications

  using anti-LGBTQ and anti-Indian rhetoric. LMU is a private, Catholic, research University in

  Los Angeles, California.

          52.   The email sent to Professor 1 read:

                You should be fired, you stupid cunt. You actually penalized a student for

                using CORRECT grammar! What would you have him do, nonsensically

                refer to God as a plural in the manner ofinentally-ill tranny freaks who don't

                understand basic English? You radical leftists who are trying to destroy the

                English language and destroy society are [sic] sickening and pure evil. You

                are a malignant tumor, a cancer eating away at our civilization. The only

                cure for your intolerant, abominable totalitarian lunacy is a bullet to the

                brain. Please do the world a favor and kill yourself, you crazed feminazi

                bitch.

          53.   The email to Professor 2 read:

                a.       "Death to tranny freaks ~ Go back to India, you tranny faggot. You freaks

                         aren't welcome here"

                b.       "Gas all Marxists and LGBTs ~ I am going to kill you. I shall decapitate you

                         then set your classroom on fire. Evil commie subhuman faggot. You had

                         best be ready to die for forcing your.deranged tranny ideology on normal



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                        people. The only good tranny is a dead tranny."

                c.      "There are only two genders, and it's not possible to switch genders.

                        Transgenderism is a mental disorder. Facts don't care about your feelings,

                        you retarded, subhuman faggot. We will soon round up and gas you

                        totalitarian Marxist freaks who are destroying America."

          54.   According to the investigation, all of the emails were sent by a user with the IP

  address 98.149.110.214. As set forth above,this IP address is owned by Charter Communications

  and is the same IP address used to post the comments by @anonymous on Merriam-Webster.com.

  According to Charter Communications records, the subscriber for this IP address on January 6,

 2022 was Zack.

                              The Amnesty International USA Threats

          55.   On February 13, 2022, Amnesty International USA ("Amnesty") reported that on

  February 11, 2022, Amnesty employees received two separate threatening e-mails.

          56.   The first threatening email was sent by Death2antisemites(a~mail.com. The subject

  ofthe email read: "Your offices deserve to be shot up and bombed." The text of the email read:

                You all deserve to die for your anti-Semitic lies about Israel. I will

                personally be traveling to your leader's house and will assassinate

                the vile Marxist. You leftists are horrific anti-Semites. You deserve

                to be slowly tortured to death, cut open and eviscerated, and

                strangled with your own intestines. You are a racist, Marxist,

                Islamic supremacist organization that needs to be destroyed. It's

                time for you hypocritical leftist anti-Semites [sic] to learn that your

                actions have consequences. We Jews are tired of being lied to and



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                being used as the world's punching bag.

         57.    The second threatening e-mail was sent later in the day to the same Amnesty

 employees from Death2antisemites(a~~mail.com. The email read:

                Once the COVID pandemic is over and you anti-Semites have

                returned to your offices, I am going to shoot your main office up.

                Yes, I have a firearm. The only good anti-Semite is a dead anti-

                Semite.

         58.    The IP address associated with both emails was 98.149.110.214, which was set

 forth above was registered to Charter Communications customer Zack and is the same as the IP

 address used to post the comments by @anonymous on Merriam-Webster.com.

                              The University of North Texas Threat

         59.    On March 3,2022,the University ofNorth Texas("UNT")reported that earlier that

 day,   its    President   received    a    threatening    communication       by      email   from

 Killallmarxisttrannyteachers(a~usa.com. The title ofthe email read: "You ought to be shot in the

 head and have your offices set on fire for supporting child genital mutilation and transgenderism."

 The body ofthe email read:

                YOU LEFTIST FREAKS are the intolerant ones. Trannies are

                disgusting PERVERTS.Every single tranny freak should be gassed,

                along with their supporters. I will personally go to your university

                and start executing tyrannical leftist students and faculty who

                oppress conservatives. The only good Democrat is a dead Democrat.

         60.    Open-source research identified the owner ofthe domain @mail.com as 1&1 IONS.

 According to 1&1 IONOS records, on February 24, 2022 and March 1-3, 2022, the IP address



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  associated with Killallmarxisttrannvteachers(a_ usa.com was 98.149.110.214, which was set forth

  above was registered to Charter Communications customer Zack and is the same as the IP address

  used to post the comments by @anonymous on Merriam-Webster.com.

          61.    According to the 1&1 IONOS records, Killallmarxisttrannyteachers@usa.com had

  four associated e-mail accounts:

                a.      DestrovWokeCorporations(a,mail.com;

                b.      Killallma~istcops(a~torontomail.com;

                c.      en~lishmatters(a~~mail.com; and

                d.      killmarxistaclupervs(a,dallasmail.com.

                                      The Walt Disney Co. Threat

          62.   According to information received from Walt Disney Co. ("Disney"), on March

  10-11, 2022, its Chief Executive Officer("CEO")received two threats by email.

         63.    The     CEO          received    the    March      10,     2022      email   from

 DestrovWokeCorporations(a~mail.com — i.e., one of the associated e-mail accounts for

 Killallmarxisttrannvteachers(a~usa.com, the email account used for the IJNT threat. The email

 subject read: "I am going to assassinate you and shoot up your corporate headquarters for

 promoting the horrific transgender ideology to children." The body of the email read:

                You Marxist corporatists are the enemies of America. You are

                controlled by the Democrats and the tranny mafia, and I will kill you

                and your entire family for promoting transgender child abuse. I

                know where you live, you evil sack of shit.

         64.    The     CEO      received       the    March     11,     2022     email      from

 DestrovWokeCorporations(u~usa.com. The email subject line read: "I am going to shoot up and



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  bomb your headquarters for being a bunch of pedophile faggots who foist transgender ideology

  onto children." The body of the email read:

                 You are a sickening,spineless woke corporation,and you all deserve

                 to die. The only way to stop the destruction of America by woke

                 corporations is through terrorism.

           65.   The header information for both e-mails identified the sender's IP address as

 98.149.110.214, which,I believe based upon my training, experience, and knowledge ofthe case,

  was assigned to Charter communications subscriber Lauren Zack on March 10, 2022.

           66.   On March 16, 2022, at approximately 12:42 p.m. CST, Disney received a bomb

 threat by telephone from an apparently male voice using phone number(562)370-3416. The caller

 stated:

                 Hey, I just learned that your company supports the transgender

                 agenda and wants to brainwash children with gender ideology. So,

                 just to let you know,I've left multiple pipe bombs at your corporate

                 headquarters. See ya.

           67.   Opensource information identified Verizon Wireless as the service provider for the

  phone number (562) 370-3416. Verizon was unable to locate subscriber information for the

  number, but confirmed the use ofthe number related to a cellular tower in Los Alamitos, CA and

  identified the actual service provider as a Verizon subsidiary called Lively Jitterbug

  Communications ("Lively"). According to Lively records, the .account for (562) 370-3416 was

 registered to Jeremy Hanson at 11572 Wallingsford Road.

             The USA Today / U.S. Department of Health and Human Services Threat

           68.   On March 21, 2022, USA Today, a member of a conglomeration of News,Media



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  companies overseen by Gannett Co., Inc., and headquartered in Virginia, notified the FBI that on

  March 18,2022,threat it received via Formstack. Formstack is a workplace productivity platform

  used by USA Today to submit corrections or suggested changes to USA articles.

          69.   According to the report, USA Today received the threat from an individual with the

  user   name    "Death    to   Leftist   Journalists"   who    provided    the   email   address

  DestroyWokeCorporation(a~usa.com — i.e., the same email used for the Disney threat on March 11,

  2022. The communication read:

                I am going to shoot up and bomb your offices for being a lying fake

                news rag that declared a man "woman of the year." Then, I will

                assassinate that freak Richard Levine and blow up the HHS.

          70.   Representatives from Gannett Co., Inc., informed investigators that USA Today

  recently named Rachel Lavine, a transgender woman who is an Assistant Secretary of Health and

 Human Services for the Biden Administration, as one of its Women of the Year. Richard Lavine

  was the name used by Rachel Lavine prior to Lavine's gender transition4

                       The Eau Claire (Wisconsin) Area School Board Threat

         71.    On March 21, 2022, the President of the Eau Claire (Wisconsin) Area School

 District("ECASD")received a threat against a school board meeting via the ECASD contact form

 on its website. The contact's name listed on the contact form was "Kill All Mar~cist Teachers."

 The email listed on the contact form was Death2Mat~cistsna,~mail.com — i.e., the same email

 address listed in the threatening communication sent via the Merriam-Webster "Contact Us"page.

 The message stated:




 4 As of March 27, 2022, Gannett Co., Inc., has been unable to provided IP information on the
 sender due to the use ofFormstack. The investigation into the threat against USA Today continues.
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                 I am going to kill you and shoot up your next school-board meeting

                 for promoting the horrific, radical transgender agenda. It's now time

                 to declare war on you pedos [sic]. I am going to kill you and your

                 entire family.

          72.    The method used to submit the ECASD threat was also similar to the use of the

 fellable form on the "Contact Us"page on MerriarnWebster.com. ECASD information technology

  personnel identified IP address 98.149.110.214 as logged on to the ECASD contact form when the

  message was sent. Based upon my training, experience, and knowledge ofthe case,I believe that

  at the time ofthe threat, Charter Communications assigned this IP address to its Lauren Zack. The

  company that manages the ECASD website also captured device information for the user who sent

  the threat from IP address 98.149.110.214. The device information is as follows: P1aySta.tion 4

(Mozilla/5.0 (P1ayStation; P1ayStation 4/9.04) using AppleWebKid605.1.15 (KHTML, like

  Gecko) Version/14.0 Safari/605.1.15).

          73.    On March 14, 2020, Zack told FBI investigators in a telephone call that the only

  digital device that Hanson could access was his Sony P1ayStation.

                                             Conclusion

          74.   Based on the information described above, I have probable cause to believe that on

 or about October 2-8, 2021, in the District of Massachusetts and elsewhere, Hanson committed

  violations ofthe Subject Offense, in violation of 18 U.S.C. § 875(c).




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        Sworn to under the pains and penalties of perjury telephonically:

                                                                        ls/ Casev Hunter Anderson
                 Signed electronically with authorization from          CASEY HI.TNTER ANDERSON
                 FBI Special Agent Casey Anderson on April 12, zozz.
                                                                        Special Agent
                                                                        Federal Bureau of Investigation

       Sworn to and subscribed before me telephonically:

       Dated: April 12, 2022

                                                                        ls/ Katherine A. Robertson
                                                                        KATHERINE A.ROBERTSON
                                                                        United States Magistrate Judge
                                                                        District of Massachusetts

                                                                       Signed electronically with authorization from
                                                                       Katherine A. Robertson, U.S. Magistrate Judge on April 12, 2022.




                  Certified to be a true and
                  correct copy of the original
                  Robert M. Farrell, Clerk
                  U.S. District Caurt
                  District of Massachusetts

                   By:           d7n.,~
                               eputy C er

                   Date.       4/t 2/2022



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